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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,                              )
                                                  )
                       Plaintiff,
                                                  )
         v.                                       )   C.A. No. 25-168-GBW
 KPLER HOLDING SA,                                )
                                                  )
                       Defendant.                 )

 STIPULATION AND [PROPOSED] ORDER TO AMEND THE SCHEDULING ORDER

         WHEREAS, a Scheduling Order was entered in this case on February 26, 2025 (D.I. 55);

         WHEREAS, the parties have conferred and have agreed, subject to the Order of the Court,

that the deadline for amending or supplementing the pleadings or joining other parties (D.I. 55 at

¶ 2) shall be extended to April 30, 2025. The parties agree that this extension shall not otherwise

impact or prejudice the parties’ rights and obligations under the Court’s existing Scheduling

Order.

 FAEGRE DRINKER                                   RICHARDS, LAYTON & FINGER, P.A.
 BIDDLE & REATH LLP

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       SO ORDERED this ______ day of April, 2025.




                                        ________________________________________
                                        THE HONORABLE GREGORY B. WILLIAMS
                                        UNITED STATES DISTRICT JUDGE




                                          2
